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A 0 245B (Rev 12/03) Sheet 2 - Irnprisonmenr
Defendant:          TIMOTHY WILLIAMS                                                                       Judgmenr - Page 2 of 6
Case No.:           8:04-cr-367-T-30hISS




          After considering the advisory sentencing guidelines and all of the factors identified i n Title 18 U.S.C.
$9 3553(a)(l)-(7). the court fi~~cls
                                  that the sentence imposed is sufficient, but not greater than necessary, to co~nplywith
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of I'risons to be
imprisonccl for a total tcrm of TWO HUNI)REI) and FORTY-EIGHT (245)MONTHS. This total term consists of a term
of ONE IIUNDRED and EIGIITY-EIGHT (155) ~nonthsas to Count One and a mandatory consecutive term of SIXTY
(60) months as to Count Two.


-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
if possible. It is further recommended that the defendant panicipate in the 500 hour intensive drug [reamlent program while
incarcerated.


X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          -at -a.m./p.m.      on -.
          - as notified by the United Stares Marshal.
-The defendant shall surrender for service of sentence at the institutiot~designated by the Bureau of Prisims.
          - before 2 p.m. on -.
          - as norified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                            at

                                                                        , with a ccnified copy of this judgment.




                                                                                        United Stares Marshal

                                                                        By:

                                                                        Deputy ,Clarsh:~l
         Case 8:04-cr-00367-JSM-MAP Document 96 Filed 05/24/05 Page 3 of 8 PageID 263
A 0 215B mrv. tli03) Sheet 3 - Supervised Release

Defendant:         TlMOTHY WILLIAMS                                                                                Judgment - Page 3of 6
Case No.:          8:04-cr-367-T-30XISS
                                                           SUPERVISED RELEASE

       Upon rclcasc from iniprisonnicnt, thc defendant shall be on supervised rclcase for u tcrnl or FIVE (5) YEARS a s to
Counts O n e and Two of the Inclict~~lent;
                                        all such terms to r u n concurrently.

        The defendant shall report to the probarion office in the district to which the defcndant is rcleascd within 72 hours of release
from the custody of the Bureau of Prisons.

Thc defendant shall not commit another federal, state, o r local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter. as determined by the court.

         The above drug testing condition is suspended, based on the court's determination that the dcfendant poses a low risk of future
         substance abuse. However, the Court authorizes the probation oficer to conduct r,andom drug testing nor to exceed 104 tests
         per year.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          If this judgment imposes a fine or a restitution it is a condirion of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this jud,w e n t .

          The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any addirional
          conditions on the a ~ a c h e dpage.

                                            STANDARD CONDITIONS OF SUPERVISION
          the defendant slii~ll1101 leave the judicial district withour the permission of the court or probation ol'liccr:

          the defendant sli;~llreport ro thc probation officer and shall submit a truthful and complctc writtell report \\ i h i n the lirsl live days of each
          month:

          thc dcfcndant slidl answer truthfully all inquiries by the probation officer and follow the instructions of the probation oflicer:

          thc dcfcndant shall support his or her depundents and mcct other family responsibilities:

          the defendant shall work regularly at a lawful occupation. unless excused by the probation oiliccr Ibr schooling, training. or other
          acceptable reasons;

          the defendant shall notify the probation officer at least ten days prior to any change in residcncc or employment:

          the defendant shall refrain from escessive use of alcohol and shall not purchase. possess. use. distrihurc. or administer any controlled
          substatice or a q paraphernalia related to any controllcd subnanccs. except as prescribed by a physician;

          the dcfcndant shall not ircqucnt placcs whcrc controllcd substances are illegally sold, used. distributed. or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate nith any person convicted of a
          felony. unless granted pcrniission to do so by the probarion officer:

          the defendant shall permit a probation officer to visit him or her at any time at home or clscwherc and shall permit confiscation of any
          contraband observed i n plain view of the probation officer:

          the defendant shilll notit:\ thc probation officer within seventy-t\sohours of being arrcs~ctlor qucstio~lcdb) ;I law eniorcement offkcr;

          the defendant shall not enter into any agreement to act as an informer or a special agcnt of ;I law cnlbrccrncnt agcncy \virhoul the
          psrmission or'thc col~rt:

          as directed by thc prohalion ol'liccr. the dckndanr shall notil) third parries ofrisks that may be occ;~sionctlb\ rllc dtkndant's criminal record
          or pcrsonal hislor! or ch;~r;lctcristicsand shall permit thu probarion officer to make ~ L I C I notilications
                                                                                                             ~             ; ~ n dto contirrr~the del'cndant's
          compliance uith such ~~otilication    requirsmcnt.
         Case 8:04-cr-00367-JSM-MAP Document 96 Filed 05/24/05 Page 4 of 8 PageID 264
A 0 ZljB (Rev. 12/03) S h e r ~3C - Supen-ised Release

Defendant:            TIMOTHY WILLIAMS                                                        Judgment - Page 4 of 6
Case No.:             8:04-cr-367-T-30bISS
                                                SPECIAL COhmITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised rclcase:

X          The defendant shall panicipate, as directed by the Probation Officer, in a program (outpatient and/or inpatient) for treatment
           of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
           abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
           amount determined reasonable by h e Probation Officer's Sliding Scale for Subsrance Abuse Treatment Services.

-
S          The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer.
           Furrher, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
           determined reasonable to by Probation Officer based on ability to pay or availability of third party payment and in
           conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

-
X          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
           determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 103 tests
           per year.
        Case 8:04-cr-00367-JSM-MAP Document 96 Filed 05/24/05 Page 5 of 8 PageID 265
 A 0 24SH (Rev 12/03) Sheet 5 - Criminal Monetary Prnaliics

 Defendant:          TIMOTHY SVILLIAfvIS                                                     Judgment - Paee 5 of 6
 Case No.:           S:W-cr-367-T-30MSS

                                          CRIRIINAL AIOXETARY PENALTIES

          The defendant must pay the total criminal monetary penalties undcr thc schedule of payments on Sheet 6.
                             Assessment                            Fine                      Total Restitution

          Totals:            $200.00                               Waived                    NIA


 -        The determination of restitution is deferred until .              An Ametlded Jutlgtnent in a Cri~nirlalCase ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to thc following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified othenvise in the priority order or ercenta e payment column below. However, pursuant to 18 U.S.C. 8
          3664(i). all nonfederal victims must be paifbefore i%e United States.
                                                                                                              Priority Order or
                                                 *'l'otal                      Aniount of'                    Percentage of
 Nanie of Pavce                               Ariiot~~itof' Loss            Restitution Ordered               Pavnient




                             Totals:          S                             S

 -        Rcstitution amount ordered pursuant to plea agrecmcnt 5
 -        The defendant shall pay interest on any fine or restitution of more than $2,500. unless the restitution or fine is paid in full
          before the fifteenth day after the datc of the judgment, pursuant to 18 U.S.C. # 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).
 -        The court determined that the defendant does not have the ability to pay intcrcst and it is ordered that:
         -          the interest requirement is waived for the - fine       - restitution.

         -          the interest requirement for the - fine - restitution is moclilied as rollows:


* Findings for the total amount of losses are required under Chapters 109A, 110. 110A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1991, but before April 23, 1996.
        Case 8:04-cr-00367-JSM-MAP Document 96 Filed 05/24/05 Page 6 of 8 PageID 266
A 0 245B (Rev 12103) Shcct 6 - Schedule of Payments
Defendant:         TIMOTHY WILLIAMS                                                           Judgment - Page 6ot 6
Casc No.:          8:04-cr-367-T-30hISS


                                                   SCHEDULE OF PAYiVENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of S 200.00              due inmediately, balance due
                             -not later than                     . or
                             -in accordance - C,             - D, - E or - F below: or
                   Payment to begin immediately (may be combined with -C , - D, or - F below): or
                   Payment in equal                 (e.g.. weekly, monthly, quarterly) installments of S             over a
                   period of          (e.g., months or years), ro commence              days (e.g.. 30 or 60 days) after the
                   dace of this judgment: or
                   Payment in equal                (e.g., weekly, monthly. quarterly) installments of S              over a
                   period of
                                . (e.g.. months or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisonment to a tern1 of supervision; or
                   Payment during the tern1 of supervised release will commence within                        (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment in~posesa period of in1                                     of criminal
           .
monetar penalties is due during irn risonment. All criminal monetary penalties, except                                   made through the
          i3                             g
Federal ureau of Prisons' Inmate inancial Responsibility Program. are made co the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Coun orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                            1                                                                          i2
or portions thereof, sub'ect to forfeiture, which are in the possession or control of tie efendant or the defendant's
nominees. The assets to >e forfeited s ecifically include, but arc not limited to: a I-ligh Standard revolver. model R- I O l ;a
                                             d
Ruger revolver. model Single-Six; a eltec pistol, model P- 1 1 and all ammunition seized from the defendants at the time
of arrest.



Payments shall be applied in the following order: (1) assessrnm, ( 2 ) restitution princij~al,( 3 ) restirurion interest. ( 4 ) fine princ~pal,
(5)cornmunit) restitution. ( 6 ) fine in~crest(7) penalties. and (8)costs, including cost of prosecution and court costs.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.                                              Case No. 8:04-cr-367-T-30MSS

   TIMOTHY WILLIAMS,
   CHRISTOPHER BELL, and
   THEARTIS DAN1ELS.

           Defendants.


                          PRELIMINARY ORDER OF FORFEITURE

           THIS CAUSE comes before the court on motion of the United States of America

   for Entry of a Preliminary Order of Forfeiture and to Amend the Judgment in the instant

   case. For good cause shown, the United States' motion is GRANTED. The court,

   being fully advised in the premises, hereby finds that the United States has established

   the requisite nexus between the weapons and ammunition, and the violations of

   18 U.S.C. 55 922(g)(1) and 924(a)(2) charged in Count Two of the Indictment, to which

   defendants Timothy Williams, Christopher Bell, and Theartis Daniels pled guilty.

   Therefore, the weapons and ammunition are subject to forfeiture pursuant to the

   provisions of 18 U.S.C. fj924(d)(I). Accordingly, it is hereby

          ORDERED, ADJUDGED, and DECREED that all right, title, and interest of

   defendants Timothy Williams, Christopher Bell, and Theartis Daniels in the following

   weapons and ammunition is hereby CONDEMNED and FORFEITED to the United

   States of America for disposition according to law, subject to the provisions of 18 U.S.C.

   § 924(d)(1), 28 U.S.C. 2461 (c), 21 U.S.C. 5 853, and Fed. R. Crim. P. 32.2:
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                a.     One High Standard revolver, model R-101, serial number 901543;

                b.     One Ruger revolver, model Single-Six, serial number 26197937;

                c.     One Keltec pistol, model P-I 1, serial number A0072; and

                d.     All ammunition seized by law enforcement on or about August 4,

                       2004.

         The Court shall retain jurisdiction to enter any further orders necessary for the

   forfeiture and disposition of the firearms and ammunition, and to entertain any third

   party claims that may be asserted in these proceedings.

                DONE and ORDERED in Tampa, Florida on April 28, 2005.




                                                  J.I.\@s S. .\100D'I'. JR.
                                                  VYITED ST-ITES DISTRICT JI-DGE
